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 1   LAWRENCE G. BROWN
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 2   JILL M. THOMAS
     Assistant U.S. Attorney
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     Sacramento, California 95814
 4   Telephone: (916) 554-2781
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )   Case No. CR-S-08-239 LKK
                                       )
12             Plaintiff,              )   GOVERNMENT’S MOTION TO DISMISS THE
                                       )   INDICTMENT AS TO DEFENDANT
13        v.                           )   CHRISTIAN ROBERSON AND ORDER
                                       )
14   CHRISTIAN ROBERSON, aka           )
     “Chrissy”                         )
15                                     )
                                       )
16                                     )
17
          The United States of America, through its attorneys of record,
18
     Assistant U.S. Attorney Jill Thomas, hereby moves for an order
19
     dismissing the indictment, specifically Counts One through Six,
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     against defendant Christian ROBERSON, aka “Chrissy” pursuant to
21
     Federal Rule of Criminal Procedure 48(a).
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          Background
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          On May 28, 2008, a Sacramento federal Grand Jury returned an
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     indictment against defendant Christian ROBERSON, aka “Chrissy” along
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     with one other defendant, Ricky WARE in a case related to conspiracy
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     to possess with intent to distribute and to distribute MDMA and
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     conspiracy to launder money and money laundering in violation of 21
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 1   U.S.C. §§ 841(a)(1) and 846, and 18 U.S.C. §§ 1956(a)(1)(B)(i) and
 2   1956(h).
 3        On March 19, 2009, the government obtained exculpatory
 4   information related to the case pending against Christian ROBERSON,
 5   aka “Chrissy”.      This resulted in the government’s belief that
 6   insufficient evidence exists to sustain a conviction concerning
 7   defendant Christian ROBERSON, aka “Chrissy”, who was not detained
 8   pretrial.     Counsel for defendants Ricky WARE and Christian ROBERSON,
 9   aka “Chrissy” and the defendants themselves have no objection to this
10   motion to dismiss.
11        Based on the above recently obtained exculpatory information,
12   the undersigned hereby moves to dismiss with prejudice Counts One
13   through Six against Christian ROBERSON, aka “Chrissy” in Case No. CR-
14   S-08-239 LKK in the interests of justice pursuant to Rule 48(a).
15
16                                           Respectfully Submitted,
17                                           LAWRENCE G. BROWN
                                             Acting United States Attorney
18
19   DATED:     March 25, 2009            By:/s/ Jill Thomas
                                             JILL M. THOMAS
20                                           Assistant U.S. Attorney
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 1                                       ORDER
 2        For the reasons set forth in the motion to dismiss filed by the
 3   United States, IT IS HEREBY ORDERED that:
 4        1.   Counts One through Six of the Indictment in Case No. CR-S-
 5   08-239 LKK as to defendant Christian ROBERSON, aka “Chrissy” is
 6   hereby DISMISSED pursuant to Federal Rule of Criminal Procedure 48(a)
 7   with prejudice.
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 9   DATED: March 24, 2009
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